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                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION


DANIEL EDWARD CALLAHAN,

             Plaintiff,                           Case No. 1:16-cv-208
                                                  Magistrate Judge Phillip J. Green
vs.

MUSKEGON COUNTY, et al.

      Defendant.
______________________________________________/

Daniel Edward Callahan                      Allan C. Vander Laan (P33893)
Plaintiff In Pro Per                        Cummings, McClorey, Davis & Acho, P.L.C.
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______________________________________________/

                 RESPONSE OF DEFENDANT MUSKEGON COUNTY OPPOSING
                    PLAINTIFF’S MOTION TO FILE A SECOND AMENDED
                          COMPLAINT (ECF NOS. 31, 31-1 AND 34)




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                               QUESTION PRESENTED


              I.    WHERE PLAINTIFF CALLAHAN’S CURRENT (FIRST)
                    AMENDED COMPLAINT (ECF NO. 26) IS SUBJECT
                    TO DISMISSAL AS EXPLAINED IN DEFENDANT
                    MUSKEGON COUNTY’S PENDING MOTION UNDER
                    FED. R. CIV. P. 12(b)(6) (ECF NOS. 29, 30) AND WHERE
                    PLAINTIFF CALLAHAN’S PROPOSED (SECOND)
                    AMENDED COMPLAINT (ECF NO. 31-1) MERELY
                    REPEATS       VERBATIM         THE      SUBSTANTIVE
                    ALLEGATIONS OF HIS EXISTING COMPLAINT,
                    SHOULD CALLAHAN’S MOTION TO AMEND HIS
                    COMPLAINT BE DENIED AS “FUTILE?”

                    Plaintiff Callahan answers: “No.”

                    Defendant Muskegon County answers: “Yes.”




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                                 COUNTER-STATEMENT OF FACTS

             Plaintiff, Daniel Edward Callahan, filed his original Complaint in this court on February

26, 2016 (ECF No. 1). The sole Defendant referenced by that Complaint, Muskegon County, filed

its answer. (ECF No. 5). The parties then participated in the preparation of an original and an

amended “joint status report” (ECF No. 9 and ECF No. 12), and the parties participated in this

Court’s scheduling conference held April 15, 2016 (ECF No. 13, “Minutes”).

             With the nature of Plaintiff’s claims somewhat clarified by these proceedings, Muskegon

County filed a motion under Fed. R. Civ. P. 12(c) seeking dismissal of Plaintiff Callahan’s

complaint. After oral argument of the motion on July 6, 2016, this Court entered an order directing

Plaintiff Callahan to file an amended complaint. (ECF No. 22).

             On August 8, 2016, Plaintiff Callahan filed his (First) Amended Complaint. (ECF No.

26). Similar to Callahan’s original Complaint, his Amended Complaint is a series of rambling

narrative paragraphs. Only Defendant Muskegon County has been served. The County has

pending before this Court its motion and brief seeking dismissal of Callahan’s First Amendment

Complaint. (ECF Nos. 29 and 30).

             Reviewed line-by-line, Plaintiff Callahan’s proposed (Second) Amended Complaint (ECF

No. 31-1) is a verbatim repetition of his First Amended Complaint (complete with spelling and

grammar errors). The only “amendment” is the removal of “other Unknown Correctional Officers

in their official capacity as Muskegon County Jail Corrections Officer” from the caption of

Defendants. It is the position of Muskegon County that Plaintiff Callahan’s proposed Second

Amended Complaint, like his First Amended Complaint and his original Complaint, still fails to

state a cognizable claim against Muskegon County. Therefore, Callahan’s proposed amendment

should be denied as “futile.”



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                                     STANDARD OF REVIEW

             The amendment of complaints is controlled by Fed. R. Civ. P. 15. “Although the rule

encourages courts to give leave to amend ‘when justice so requires’” courts “need not give leave

to amend when doing so would be futile.” SFS Check, LLC v. First Bank of Delaware, 774 F.3d

351, 355 (6th Cir. 2014). A proposed amendment is “futile” if the proposed amendment “would

not survive a motion to dismiss.” Id., Thiokol Corp. v. Dept. of Treasury, State of Michigan,

Revenue Division, 987 F.2d 376, 383 (6th Cir. 1993).




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                                              ARGUMENT

             “To survive a motion to dismiss, a complaint must contain sufficient factual matter,

accepted as true, to state a claim for relief that is plausible on its face.” Ashcroft v. Iqbal, 556

U.S. 662, 678 (2009). As explained fully in Muskegon County’s pending motion seeking dismissal

under Fed. R. Civ. P. 12(c), Plaintiff Callahan’s present First Amended Complaint (like his original

Complaint) fails to state a claim against Muskegon County. The County hereby incorporates into

the present response the entirety of its pending motion and brief presenting the details of its

dismissal argument. (ECF Nos. 29 and 30).

             The only difference between Callahan’s current First Amended Complaint (ECF No. 26)

and his proposed Second Amended Complaint (ECF No. 31-1) is the removal of the reference to

“Unknown Corrections Officers” from the Defendants’ caption. Callahan offers no substantive

change to the allegations of the complaint. Therefore, the proposed Second Amended Complaint

would be subject to dismissal for the same reasons recited in Muskegon County’s pending motion

seeking dismissal of Callahan’s First Amended Complaint. Therefore, as defined by the Sixth

Circuit, Callahan’s proposed amendment is “futile.”

             This Court has already afforded Plaintiff Callahan the opportunity to amend his Complaint

to avoid dismissal. There is no justification to delay determination of the substance of Muskegon

County’s pending motion only so that Plaintiff Callahan can submit further futile pleadings.

Callahan’s motion to amend should be denied.




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                            CONCLUSION AND RELIEF REQUESTED

             For the reasons described above, Muskegon County asks this Court to deny Plaintiff

Callahan’s motion to file a (second) amended complaint (ECF Nos. 31, 31-1 and 34).

                                        s/Allan C. Vander Laan____________________
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                                        P33893

Dated: September 16, 2016


                                   CERTIFICATE OF SERVICE

I hereby certify that on September 20, 2016, I electronically filed the foregoing paper with the
Clerk of the Court using the ECF system and served Plaintiff In Pro Per via First Class Mail:

Daniel Edward Callahan
2441 Winding Brook Court
Rochester Hills MI 48309

                                        s/Karla Marsman___________________________
                                        Karla Marsman
                                        Legal Assistant
                                        Cummings, McClorey, Davis & Acho, P.L.C.




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